                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TENNESSEE


 TINA NORRIS, MELISSA BLEVINS and
 APRIL YARBER, surviving children and next
 of kin of TERESA NORRIS; and APRIL
 YARBER, Administrator of the Estate of
 TERESA NORRIS

                        Plaintiffs
 vs.                                                                            No. 2:12-CV-00415
                                                                                Judge Greer
                                                                                Magistrate Inman
 MOUNTAIN STATES HEALTH ALLIANCE
 d/b/a THE TRANSPLANT CENTER at JOHNSON                                         Jury Demanded
 CITY MEDICAL CENTER; BLUE RIDGE MEDICAL
 MANAGEMENT CORPORATION d/b/a BLUE RIDGE
 SURGICAL ASSOCIATES; JOSEPH LEE, M.D. and
 JON JONES, M.D.

                        Defendants

                                     STIPULATION OF DISMISSAL

        Pursuant to Rule 41(a)(1)(ii), Federal Rules of Civil Procedure, the parties hereby

 stipulate that all claims against all the Defendants are hereby dismissed with full prejudice.

        It is further agreed that this action is not subject to the provisions of Rules 23(e),

 23.1(c), 23.2 or 66, Federal Rules of Civil Procedure, or of any statute of the United

 States that would prohibit the voluntary dismissal of this cause without Court approval.

        These Defendants and the Plaintiffs will bear and assume their own respective

 discretionary costs and attorney’s fees.




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                                          Respectfully submitted,

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